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                                          U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York
                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007



                                                     November 24, 2020

BY ECF
The Honorable Jed S. Rakoff
500 Pearl Street
New York, New York 10007

        Re:      United States v. Cesar Vazquez, 20 Cr. 154 (JSR)

Dear Judge Rakoff:

        The Government respectfully submits this letter in advance of the December 2, 2020
sentencing of the defendant, Cesar Vazquez. The parties and the Probation Office agree that the
applicable sentencing range under the United States Sentencing Guidelines (the “Guidelines”) is a
term of imprisonment of zero to six months. For the reasons set forth below, the Government
respectfully submits that a term of imprisonment or probation within this range is sufficient but
not greater than necessary to serve the purposes of sentencing.

      I.      Offense Conduct

       In the fall of 2019, the defendant abused his position as an employee with the United States
Postal Service (“USPS”) by repeatedly removing letters from the mail stream and opening them.
The defendant first took a job at the USPS in April 2018. PSR ¶ 6. In the fall of 2018, he was
assigned to work at the Manhattan USPS Processing and Distribution Center (the “Processing and
Distribution Center”), which is the facility that processes mail destined for locations in Manhattan
and the Bronx. Id.

        In mid-October, the USPS Postal Police informed the United States Postal Inspection
Service (“USPIS”) that an employee at the Processing and Distribution Center had discovered
opened letters in a bathroom on the third floor of the facility. Id. ¶ 7. Consistent with that
discovery, the USPIS began receiving reports from USPS employees that letters that had passed
through the Processing and Distribution Center had arrived at USPS Post Offices already opened
or damaged. Id. ¶ 8. The opened and damaged mail consisted primarily of colorful envelopes
typically used to send holiday or birthday cards.

        Using USPS records, investigators at the USPIS were able to determine the sorting machine
that the opened and damaged letters passed through at the Processing and Distribution Center. Id.
¶ 8. Those records showed that many of the opened letters had passed through machines that the
defendant had operated. Id.

        After identifying the defendant as the likely culprit, inspectors from the USPIS conducted
surveillance in late November 2019, so they could observe the defendant as he operated his
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assigned sorting machine. Id. ¶ 9. The inspectors observed the defendant sifting through letters
on the sorting machine, picking out the types of colorful envelopes typically used to send holiday
or birthday cards, taking those letters to a secluded location between large racks of mail, and
opening the letters. Id. ¶ 9. The inspectors then found approximately 18 opened letters on the mail
racks where the defendant had been secretly opening letters. Id.

      II.    Procedural History, Guilty Plea, and Applicable Guidelines Range

       On January 30, 2020, United States Magistrate Judge James L. Cott swore out a complaint
charging Vazquez with one count of delaying or destroying the mail, in violation of 18 U.S.C.
§ 1703. Dkt. 1. The defendant was arrested and presented before Magistrate Judge Cott the
following day, then released on a bond. Dkt. 4. On February 21, 2020, a grand jury returned an
indictment, charging the defendant with the same crime charged in the complaint. Dkt. 5.

        On June 30, 2020, the defendant pled guilty pursuant to a plea agreement to delaying or
destroying the mail, in violation of 18 U.S.C. § 1703. That charge carries a maximum term of five
years’ imprisonment and three years’ supervised release, a maximum fine of $250,000, and a $100
mandatory special assessment. Pursuant to the plea agreement, the parties stipulated to a
Guidelines calculation resulting in an offense level of four and a criminal history category of I.
Based upon that calculation, the parties further stipulated to a Guidelines range of zero to six
months’ imprisonment. The Probation Office concurs in this calculation. PSR ¶ 60.

     III.    Discussion

         A. Applicable Law

        While advisory, the Sentencing Guidelines remain “the starting point and the initial
benchmark” for sentencing proceedings. Gall v. United States, 552 U.S. 38, 49 (2007). That is
because the Guidelines are “the product of careful study based on extensive empirical evidence
derived from the review of thousands of individual sentencing decisions.” Id. at 46. For that
reason, “in the overwhelming majority of cases, a Guidelines sentence will fall comfortably within
the broad range of sentences that would be reasonable in the particular circumstances.” United
States v. Fernandez, 443 F.3d 19, 27 (2d Cir. 2006).

        In imposing a sentence, the Court must consider the factors set forth at 18 U.S.C. § 3553(a),
which include the “the nature and circumstances of the offense and the history and characteristics
of the defendant,” id. § 3553(a)(1), and “the need to avoid unwarranted sentence disparities among
defendants with similar records who have been found guilty of similar conduct,” id. § 3553(a)(6).
The factors also include the “need for the sentence imposed” to (A) “reflect the seriousness of the
offense, to promote respect for the law, and to provide just punishment”; (B) “afford adequate
deterrence”; (C) “protect the public from further crimes of the defendant”; and (D) “provide . . .
needed educational or vocational training, medical care, or other . . . treatment.” Id. § 3553(a)(2).




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         B. The Court Should Impose A Sentence Within The Guidelines Range

        The Government respectfully requests that the Court impose a sentence within the
stipulated Guidelines range of zero to six months. Under the Guidelines, the sentence can be either
a term of imprisonment or a term of probation.

        A within-Guidelines sentence is appropriate in light of the nature and circumstances of the
offense and is necessary to promote respect for the law. As a postal employee, the defendant was
entrusted with handling large quantities of mail flowing into New York City. He abused that trust,
removing letters from the mail stream, opening them, and rummaging through their contents. The
types of letters that the defendant picked—the colorful envelopes that typically contain holiday
and birthday cards—suggest that his intention was to steal checks, cash, or other small gifts that
people often send through the mail on special occasions. While the Government is unaware of
whether the defendant succeeded in his effort to find money, it is clear that his conduct is exactly
the sort that undermines faith in the postal system, making people question whether they can trust
the USPS to safely deliver gifts or other, more valuable items.

        Imposing a within-Guidelines sentence also sends an important deterrent message. The
postal service is an important pipeline for commerce and communication. Whenever someone
puts a letter in the mail, they implicitly place their trust in the men and women who come into
contact with that letter before it reaches its final destination. A within-Guidelines sentence in this
case is important to show USPS employees that breaches of that trust will be taken seriously and
punished accordingly.



                                                      Respectfully submitted,

                                                      AUDREY STRAUSS
                                                      Acting United States Attorney


                                                  By: /s/ Thomas Burnett
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